Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 1 of 17 PageID# 38




                             EXHIBIT 1
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 2 of 17 PageID# 39




VIRGINIA:
           IN THE CIRCUIT COURT FOR FAIRFAX COUNTY, VIRGINIA


MANTIAN ZHU


             Plaintiff,


v.
                                           Case No.: CL 2009-16778


DISH NETWORK L.L.C.

             Defendant.



                                 EXHIBIT NO. 1 TO
               DEFENDANT'S MOTION FOR SUMMARY JUDGMENT




      Defendant's Answers to Plaintiffs First Set of Interrogatories



                                      DISH NETWORK L.L.C.


                                      BY COUNSEL


RESPECTFULLY SUBMITTED




Bradshaw Rost, Esq. Bar #27134
Tenenbaum & Saas, PC
4504 Walsh Street, Suite 200
Chevy Chase, MD 20815
Tel (301)961-5300
Fax (301)961-5305
Counsel for Defendant
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 3 of 17 PageID# 40




 VIRGINIA:
              IN THE CIRCUIT COURT FOR FAIRFAX COUNTY, VIRGINIA


 MANTIAN ZHU


                Plaintiff,


v.                                                  Case No.: CL 2009-16778


DISH NETWORK L.L.C.

                Defendant



                             DEFENDANT'S ANSWERS TO
                     PLAINTIFF'S FIRST SET OF INTERROGATORIES


        Defendant DISH Network L.L.C., by and through its counsel, hereby serves its Answers

to Plaintiffs First Set of Interrogatories.

                                    GENERAL OBJECTIONS

        1.      Defendant DISH Network L.L.C. ("DISH Network") objects to Plaintiffs First

Set of Interrogatories to Defendant DISH Network L.L.C. ("Plaintiffs Interrogatories") to the

extent Plaintiffs Interrogatories exceed the scope of permissible discovery under the applicable

rules of civil procedure.    DISH Network will only provide materials that are relevant to the


claims asserted in this action.

        2.     DISH Network objects to Plaintiffs Interrogatories to the extent Plaintiffs


Interrogatories seek discovery from DISH Network that is protected by a privilege or other

protection, including without limitation, the attorney-client privilege or work product doctrine.

DISH Network will not produce any materials that are protected from discovery by a privilege or

other protection.
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 4 of 17 PageID# 41




        3.     DISH Network objects to Plaintiffs Interrogatories to the extent Plaintiffs

Interrogatories are unreasonably cumulative or duplicative, or the discovery sought is obtainable

from some other source that is more convenient, less burdensome, or less expensive.

        4.     DISH Network objects to Plaintiffs Interrogatories to the extent the burden or the


expense of the proposed discovery outweighs its likely benefit.

        5.     DISH Network objects to Plaintiffs Interrogatories to the extent they call for a

response regarding "any" or "all" facts, information, or documents as overly broad and unduly

burdensome.


        6.     DISH Network objects to Plaintiffs Interrogatories to the extent Plaintiffs

Interrogatories seek discovery that is outside of DISH Network's possession, custody, or control.

DISH Network will produce only those non-privileged documents and things that are relevant to

the claims and defenses asserted in this action and within DISH Network's possession, custody,


or control.

        7.     Where, in an answer, DISH Network states that its response is subject to and

without waving objections, it means that a reasonable effort will be made to understand and

respond to the request by providing relevant information without producing or disclosing

information which is privileged or which is subject to some other objection.

        8.     In   providing   any   information   or    documents   in   response   to   Plaintiffs

Interrogatories, DISH Network preserves, and does not waive, any objections or other challenges

as to the competency, relevancy, materiality, privilege, or admissibility of evidence as to any

document or information identified or produced hereunder.

       9.      DISH Network reserves its right to supplement its answers to Plaintiffs

Interrogatories as information becomes available to it.
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 5 of 17 PageID# 42




         SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES

       /.      State all facts which support your contention that Defendant did not violate the
provisions of the Virginia Telephone Privacy Protection Act as alleged in the Complaint filed
in the above-styled action.


        ANSWER:

        DISH Network objects to Interrogatory No. 1 on the grounds that it is vague, ambiguous

and overly broad.    DISH Network further objects to Interrogatory No. 1 on the grounds that

discovery in this matter is continuing and DISH Network specifically reserves its right to

supplement this response as new information may become available to it.

        Subject to and without waiving the foregoing objections or the general objections, DISH

Network states that, assuming arguendo that the phone calls were made to phone number 703-

281-2885 as alleged by Plaintiff between July 27, 2009 and July 30, 2009, DISH Network

specifically denies that it caused the phone calls to be made and denies that it had any

responsibility for the phone calls being placed, or that it participated in any manner in having the

alleged phone calls placed to the Plaintiff.

       The unidentified individuals who allegedly called Plaintiff as referred to in Plaintiffs

Answers to Interrogatories No. 3 and 4 were not agents of DISH Network, were not authorized

by DISH Network to make the alleged phone calls, and DISH Network did not cause those

unidentified individuals to make the alleged phone calls. The three phone numbers identified by

Plaintiff in his answer to Interrogatory No. 2 are not phone numbers which belong to or are used

by DISH Network or any authorized agent of DISH Network for telemarketing purposes.

       At the time the alleged phone calls where made between July 27,2009 and July 30,2009,

DISH Network had in place a "Do-Not-Call Policy" promulgated and adopted by DISH Network

in accordance with The Telemarketing Sales Rule of 2003, and Telephone Consumer Protection
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 6 of 17 PageID# 43




Act of 1991, and The Telemarketing and Consumer Fraud and Abuse Prevention Act of 1994,

and Accompanying Regulations. (A true and accurate copy of this Do-Not Call Policy is attached

hereto as Exhibit A). In furtherance of that Do-Not-Call Policy, DISH Network maintains an

internal database of Do-Not-Call phone numbers which list is updated by "scrubbing" the

internal list against the National Do-Not-Call Registry (and any applicable state list) to ensure

that any listed numbers are added to DISH Network's internal database of Do-Not-Call phone

numbers. DISH Network contracts with an independent third party, Possible Now, Inc., to obtain

all state and National Do-Not-Call lists from the administrator of the registry in accordance with

all applicable regulations. This information is integrated into the database maintained by DISH

Network which database identifies all phone numbers placed on the state and National Do-Not-

Call Registry. A review of that information shows that phone number 703-281-2885 was added

to the National Do Not Call Registry on September 7, 2003, and thus was subsequently added to

DISH Network's internal Do Not Call list prior to July 27, 2009.

        Employees of DISH Network are unable to place any telemarketing calls to phone

numbers appearing on the DISH Network Do-Not-Call list when those numbers have been

scrubbed against the National and State Do Not Call Lists. Those employees do not use an actual

phone that they dial to place calls, but rather use a computerized dialer that dials and routs the

calls. The process of "scrubbing" the internal database maintained by DISH Network against the

information contained in any state and the National Do-Not-Call lists provided by Possible Now,

Inc. results in any phone numbers appearing on the Do-Not-Call lists being removed from the

dialing list used by the computerized dialer and it is physically impossible for a DISH Network

employee making telemarketing calls to call a number that is not contained on the list used by

the dialer.
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 7 of 17 PageID# 44




       As noted above, DISH Network utilizes a computerized telephone system to place

outbound telemarketing calls. All of DISH Network's outbound telemarketing calls are logged in

this computerized system. The DISH Network's computerized telephone system saves electronic

records of outbound telemarketing calls that can be searched by telephone number in order to

produce a report that identifies if a telephone number has been called by DISH Network and, if

so, the date, time and other information concerning such call. The records maintained in the

DISH Network's computerized telephone systems establishes that the last phone call placed by

DISH Network to telephone number 703-281-2885 was on August 1, 2006 at 11:49 a.m. and that

call was pertaining to an account for DISH Network® service opened in the name of Yi Wang

for service at the address of 11007 Langton Arms Court, Oakton, Virginia 22124. (A true and

correct copy of DISH Network's computerized telephone record is attached hereto as Exhibit B.)

       Thus, DISH Network maintains in accordance with applicable federal regulations a

version of the National Do-Not-Call Registry, and this internal DISH Network Do-Not-Call

Registry was updated to include telephone number 703-281-2885 more than 31 days prior to July

27, 2009. As such, DISH Network had established reasonable practices and procedures to

effectively prevent telephone solicitation calls in violation of the Virginia Telephone Privacy

Protection Act prior to July 27, 2009. Further, as discussed below in the Answer to Interrogatory

No. 2, the retailers who are authorized to solicit orders for DISH Network® service are

independent contractors who are prohibited by their contracts with DISH Network from making

telemarketing calls in violation of any Do Not Call lists.

       2.      List all entities or individuals that provide telemarketing services for or on
behalf of Defendant In your response, include entities and/or individuals that are authorized
by Defendant and any entities or individuals that may be independent of Defendant but from
whom Defendant accepts subscriptions. Include in your response the complete name and
address for all such entities or individuals as well as all phone numbers that the Defendant
knows are used by such entities or individuals.
 Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 8 of 17 PageID# 45




       ANSWER:

       DISH Network objects to Interrogatory No. 2 on the grounds that it is vague, ambiguous,

oven
    ly broad and unduly burdensome. DISH Network further objects to Interrogatory No. 2 on

the grounds that it is not reasonably calculated to lead to the discovery of admissible evidence.

Subject to that objection and waiving the same, DISH Network answers as follows.

       Any employees of DISH Network who make telemarketing calls must follow the Do-

Not-Call Policy established by DISH Network at the time the alleged phone calls were made to

Plaintiff. Further, the three phone numbers identified by Plaintiff from where the alleged phone

calls were made do not belong to, are not leased by, and are not registered with DISH Network.

The primary telephone number used by DISH Network to communicate with subscribers is 1-

800-333 DISH (3474). Therefore, nobody from or employed by DISH Network could have made

the alleged phone calls to Plaintiff.

       The only outside vendors that DISH Network uses for telemarketing purposes during the

time frame the alleged calls were made are (i) eCreek, headquartered in Denver; and (ii) PLDT -

headquartered in the Philippines. None of the area codes for the three phone numbers identified

by Plaintiff are located in Denver or the Philippines.      These companies retained by DISH

Network to provide telemarketing services directly on behalf of DISH Network comply with the

National Do Not Call Registry and the three phone numbers identified by Plaintiff from where

the alleged phone calls were made do not belong to, are not leased by, and are not registered with

any outside company retained by DISH Network for such telemarketing services.

       Any retailers authorized to solicit orders for DISH Network® service are independent

contractors and DISH Network has no control or supervision over any telemarketing efforts the

independent retailers may conduct, except that the retail agreements between DISH Network and
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 9 of 17 PageID# 46




the independent third party retailers expressly provide that the retailers have affirmative

obligation to comply with the National Do Not Call Registry and any applicable state law and a

violation of this affirmative prohibition by a retailer would be a breach of their retail agreement

with DISH Network. The standard provisions of the retail agreements between DISH Network

and its retailers provides in pertinent part in §9.1 that: "Retailer shall comply with all applicable

governmental statutes, laws, rules, regulations, ordinances, codes, directives, and orders (whether

federal, state, municipal, or otherwise) and all amendments thereto, now enacted or hereafter

promulgated (hereinafter "Laws"), and Retailer is solely responsible for its compliance with all

Laws that apply to its obligations under this Agreement." A breach of this provision is a default

under the standard retail agreement, and authorizes DISH Network to terminate the retail

agreement and pursue other remedies under the agreement and applicable law. Further, §11 of

the standard retail agreement, entitled "INDEPENDENT CONTRACTOR", states in pertinent

part as follows:

         The relationship of the parties hereto is that of independent contractors.
         Retailer shall conduct its business as an independent contract, and all persons
         employed in the conduct of such business shall be Retailer's employees only,
         and not employees or agents of [DISH Network]. . . . Retailer (including
         without limitation its officers, directors, employees and Permitted
         Subcontractors) shall not, under any circumstances, hold itself out to the public
         or represent that its is [DISH Network] or an employee, subcontractor,
         Affiliate, agent or sub-agent of [DISH Network] or any of its Affiliates or that
         Retailer is acting or is authorized to act on behalf of [DISH Network] or any of
         its Affiliates. This Agreement does not constitute any joint venture or
         partnership. It is further understood and agreed that Retailer has no right or
         authority to make any representation, warranty, promise or agreement or take
         any action for or on behalf of [DISH Network].

In order to ensure that the retailers, who are independent contractors, comply with all laws

regarding     Do-Not-Call     lists,   §13   of    the   standard    retail   agreement,     entitled

INDEMNIFICATION", require that: "Retailer shall indemnify, defend and hold [DISH
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 10 of 17 PageID# 47




Network] harmless from any [Claims] that arise out, or are incurred in connection with . . .

Retailer's lawful or unlawful acts or omissions (or those of any of the Retailer's employees

whether or not such acts are within the scope of employment or authority of such employees)

relating to the sale, . . . marketing, advertisement, promotion and/or solicitation" of DISH

Network® programming.

       3.      Describe in detail all conversations between Plaintiff and Defendant or its
agents from May 6, 2009 to present.          For each conversation, state the date of such
conversation, the location of such conversation, the name and complete contact information
of the agent of Defendant having such conversation and the substantive detail of each
conversation. Sate whether there is a recording or transcription of any such conversation and
who currently possesses such recording or transcription.

       ANSWER:

        DISH Network objects to Interrogatory No. 3 on the grounds that it is vague, ambiguous,

overly broad and unduly burdensome. DISH Network further objects to Interrogatory No. 3 on

the grounds that, in part, it calls for the disclosure of information protected by attorney client

privilege, the work product doctrine, or some other privilege or protection. DISH Network also

objects to Interrogatory No. 3 to the extent that it requests information already in the possession

and control of Plaintiff.

        Subject to and without waiving the foregoing objections or the general objections,

according to DISH Network's records, on or about May 6, 2009, Plaintiff called DISH Network

about receiving solicitation calls and spoke to a customer service representative and a member of

DISH Network's Do Not Call Investigation Team. The DISH Network representative confirmed

that phone number 703-281-2885 was already on the National Do-Not-Call List and therefore the

alleged phone calls identified by Plaintiff could not have been placed or caused by DISH

Network. Attached hereto as Exhibit C is a true and correct copy of the "DNC Solution Report"
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 11 of 17 PageID# 48




from Possible Now, Inc. confirming that number 703-281-2885 was placed on the National Do-

Not-Call list on September 7,2003.

       As a result of receiving the lawsuit Plaintiff filed against DISH Network in Fairfax

County General District Court, Case Number 09-20325 ("Small Claims Case"), Kimberly

Berridge, Paralegal, spoke with Plaintiff on the telephone on or about September 18, 2009. Ms.
Berridge informed Plaintiff that DISH Network had not placed the calls he was alleging in the

Small Claims Case and offered to try and identify the entities placing the alleged calls. A few

days later Ms. Berridge called Plaintiff and informed him that the only numbers that DISH
Network had been able to identify from the list Plaintiff provided of calls he allegedly received

were (1) (703) 622-9242 identified as belonging to ezLocation, a company that, upon

information and belief Plaintiff owns and or operates; and (2) (973) 830-1515 identified as being

associated with a company by the name of Ned Stevens Gutter Cleaner. DISH does not have

recordings or transcriptions of the three conversations detailed above in its possession or control.

      4     Identify each and every lawsuit or administrative action involving complaints by
consumers or governmental agencies for violations [sic] telemarketing laws to which the
DefenTant has been a party. In your response, include the jurisdiction of the lawsuit the
names and 'contact information of the parties and the ultimate disposition of the lawsuit Be
sZ to specifically list any and all actions prosecuted by the Federal Trade Commission
 and/or State authorities for violation of the National Do Not Call Registry and/or State
 telephone privacy protection laws.

        ANSWER:

        DISH Network objects to Interrogatory No. 4 on the grounds that it is overly broad and

 unduly burdensome. DISH Network also objects to Interrogatory No. 4 on the grounds that the

 information requested in this interrogatory is obtainable from some other source that is more

 convenient, less burdensome, or less expensive for Defendant. DISH Network further objects to
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 12 of 17 PageID# 49




Interrogatory No. 4 on the grounds that the information sought it is not relevant nor reasonably

calculated to lead to the discovery of admissible evidence.

        Subject to and without waiving the foregoing objections or the general objections, DISH

Network states that it has not been a party to any lawsuits or administrative actions alleging

violations of the Virginia Telephone Privacy Protection Act other than actions initiated by

Plaintiff.

        5.     Specifically any and all persons answering these interrogatories, supplying
information, or assisting in any way with the preparation of the answers to these
interrogatories, and with respect to each individual, provide a summary of the information
provided by such individual.

        ANSWER:

        DISH Network objects to Interrogatory No. 5 to the extent that it calls for the disclosure

of information protected by attorney client privilege, the work product doctrine, or some other

privilege or protection.

        Subject to and without waiving the foregoing objections or the general objections:

Kimberly Berridge, Paralegal; Brett J. Kitei, Corporate Counsel; and Bob Davis, General

Manager of Outbound Operations.

       6.     Identify any expert witness you intend to call in this proceeding and for each
expert witness, set forth each expert opinion to be offered, and provide a summary of the
grounds and reasons in support of each expert opinion.

        ANSWER:

        DISH Network objects to Interrogatory No. 6 on the grounds that discovery in this matter

is continuing and DISH Network will provide Plaintiff with a witness list in accordance with the

Scheduling Order issued in this matter.




                                                10
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 13 of 17 PageID# 50




       Subject to and without waiving the foregoing objections or the general objections, at this

time DISH Network has not yet identified an expert witness that it intends to call in this

proceeding.

        7.      Identify each witness you intend to call in this proceeding and for each witness,
please set forth a summary of the testimony to be presented by each witness.

       ANSWER:

       DISH Network objects to Interrogatory No. 7 on the grounds that discovery in this matter

is continuing and DISH Network will provide Plaintiff with a witness list in accordance with the

Scheduling Order issued in this matter.

        Subject to and without waiving the foregoing objections or the general objections, at this

time DISH Network intends to call a representative of DISH Network to testify about DISH

Network's telemarketing policies and adherence with the Virginia Telephone Privacy Protection

Act.

        8.     Describe your procedure for accepting customer subscriptions from outside
vendors. In your response, identify how you monitor compliance with the Do Not Call List,
FTC rules and Virginia Code.

        ANSWER:

        DISH Network objects to Interrogatory No. 8 on the grounds that it is vague, ambiguous,

overly broad and unduly burdensome. DISH Network further objects to Interrogatory No. 8 on

the grounds that it is not reasonably calculated to lead to the discovery of admissible evidence. In

that regard, the procedure for how DISH Network accepts customer subscriptions from outside

vendors is not pertinent to the issue of whether DISH Network caused the unidentified

 individual(s) to make the alleged phone calls from the three phone numbers identified in

 Plaintiffs Answers to Interrogatories.




                                                 11
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 14 of 17 PageID# 51




          Subject to and without waiving the foregoing objections or the general objections, DISH

Network states that retailers are responsible for obtaining their own customers in accordance

with the terms of the retail agreements. Further, DISH Network conducts its own marketing

efforts for customers separate and independent from any marketing efforts performed by

independent third party retailers. DISH Network does not share marketing information about

potential customers with third party retailers and such information is strictly guarded as a trade

secret.


          With respect to the second sentence in the interrogatory the information responsive to

that question is set forth in response to Interrogatory No. 1 above which answer is incorporated

and adopted by reference herein. As stated therein, all independent contractors that are

authorized to solicit orders for DISH Network® programming are required pursuant to the terms

of their contracts with DISH Network to follow all applicable governmental statutes, laws, rules,

regulations, ordinances, codes, directives and orders, including but not limited to all laws

regarding telemarketing.

          9.     Identify the owner of each of the following phone numbers:

                 a.     (703) 281-2885;
                 b.     (972) 591-0694;
                 c.     (407) 409-7497; and
                 d.     (718) 690-9685.


          ANSWER:

          DISH Network objects to Interrogatory No. 9 on the grounds that it is vague, ambiguous,

overly broad and unduly burdensome. DISH Network further objects to Interrogatory No. 9 on

the grounds that the information sought by Plaintiff in this interrogatory is obtainable by Plaintiff

from some other source that is more convenient, less burdensome, or less expensive for

Defendant.




                                                 12
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 15 of 17 PageID# 52




       Subject to and without waiving the foregoing objections or the general objections, DISH

Network incorporates the responsive portion of its answer to Interrogatory No. 3 above and

states further that it does not own or lease the telephone numbers listed in Interrogatory No. 9 nor

does it use the telephone numbers listed above for telemarketing purposes.




                                                 13
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 16 of 17 PageID# 53




VERIFICATION

      I BOB DAVIS, being first duly sworn and depose, hereby ajfirm under penalties that I
am an authorized agent for DISH Network LLC and the forgoing information ts true and
accurate to the best of my information, knowledge and beliej.


                                     Bob Davis, General Manager of Outbound Operations
                                     DISH Network L.L.C.


AS TO OBJECTIONS.


                                             RESPECTFULLY SUBMITTED

                                             DISH NETWORK, LLC
                                             By Counsel




Bradshaw Rost, Esq.
Miriam A. Valoy, Esq.
Tenenbaum & Saas. PC
4504 Walsh Street, Suite 200
Chevy Chase, MD 20815
Tel (301)961-5300
 Fax (301)961-5305
Counsel for Defendant DISH Network, LLC
Case 1:10-cv-00777-LO-TCB Document 1-7 Filed 07/12/10 Page 17 of 17 PageID# 54




                             CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a copy of the Defendant's Answers to Plaintiffs First Set of
Interrogatories was sent via OS^^afe-Fiid Class, Posing Prepaid on February 11,2010 to:

A. Charles Dean
Gross & Romanick, P.C.
3975 University Drive
Suite 410
Fairfax, Virginia 22030


                                                Bradshaw Rost
